This defendant was tried and convicted under an indictment in which it was charged that he did distill, make, or manufacture alcoholic, spirituous, malted, or mixed liquors or beverages a part of which is alcoholic, etc.
This is a companion case with the case of Arthur Ellis v. State, 93 So. 334,1 and counsel for appellant and the state make it known to this court that the two cases were tried together, and, while separate verdicts were rendered in each case, yet in all other respects the two are identical, and that a decision in this court in one case will of necessity govern the decision in the other case. The appeal of Arthur Ellis v. State, the companion case, has been duly considered by this court, and a decision rendered therein, the opinion being prepared by Samford, J., of this court. On authority of that case, the judgment of conviction rendered against this defendant in the court below is reversed, and the cause remanded.
Reversed and remanded.
1 Ante, p. 544. *Page 546 